          Case 2:96-cr-00350-WBS-AC Document 814 Filed 01/22/13 Page 1 of 1


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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 2:96-CR-350-09 WBS
                                             )
12                        Plaintiff,         )   ORDER TO RESET SENTENCING
                                             )   HEARING
13   v.                                      )
                                             )
14   HUY CHI LUONG,                          )
                                             )
15                        Defendant.         )
                                             )
16
17         For the reasons set forth above, the revised sentencing hearing
18   schedule is adopted.      Sentencing in this matter is now continued to
19   March 11, 2013, 9:30 A.M.
20    DATED:     January 18, 2013
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